USCA Case #23-1157               Document #2083296            Filed: 11/01/2024       Page 1 of 1
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-1157                                                     September Term, 2024
                                                                              EPA-88FR36654
                                                       Filed On: November 1, 2024 [2083296]
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,
              Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,
             Respondents

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City Utilities of Springfield, Missouri, et al.,
                   Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317

                                             ORDER

        Upon consideration of the motion to extend abeyance, the opposition, and the
reply, it is

       ORDERED that these consolidated cases remain in abeyance pending further
order of the court. The parties are directed to address any requests for continued
abeyance in the motions to govern future proceedings that are filed pursuant to the
court’s September 12, 2024 order.

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Louis Karl Fisher
                                                              Deputy Clerk
